Case 1:21-cv-20975-BB Document 108 Entered on FLSD Docket 02/18/2022 Page 1 of 6




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                           Case No. 21-cv-20975-BLOOM/Otazo-Reyes

  MBI SERVICES, LLC,

         Plaintiff,

  v.

  APEX DISTRIBUTION LLC, et al.,

        Defendants.
  ___________________________________/

                           ORDER SCHEDULING TRIAL
               AND ORDER OF INSTRUCTIONS BEFORE CALENDAR CALL

         This cause is set for trial during the Court’s two-week trial calendar beginning on April

  25, 2022 at 9:00 a.m. at the United States Courthouse, 400 North Miami, Avenue, Courtroom

  10-2, Miami, Florida. The parties shall appear before the Court for calendar call at 1:45 p.m. on

  Tuesday, April 19, 2022. In order to allow the parties to properly prepare for trial and ensure an

  efficient trial schedule, it is ORDERED AND ADJUDGED as follows:

  By April 4, 2022, the parties shall prepare and file the following:

         (1)     Deposition Filings and Designations

         All depositions and advise of the deposition portions to be used at trial by designating the

  page and line of each deposition. Any objections or counter-designations and copies of all

  depositions to be used shall be filed by April 8, 2022.

  By April 11, 2022, the parties shall prepare and file the following materials:

         (2)     Neutral Statement of Case and List of Witnesses for Venire Panel

                 (A) A joint concise, neutral statement of the case that can be read to the venire panel

  prior to voir dire to apprise the panel of the subject matter involved in the case. The joint concise
Case 1:21-cv-20975-BB Document 108 Entered on FLSD Docket 02/18/2022 Page 2 of 6

                                                          Case No. 21-cv-20975-BLOOM/Otazo-Reyes


  statement shall address the positions of each party to this litigation in a succinct and neutral

  manner.

                  (B) A joint list of all witnesses that will be called at trial. This list shall provide the

  full name of the witness and succinct identifying information, such as area of residence or

  employment affiliation, to help the prospective jurors determine whether they recognize a potential

  witness.

         (3)      Voir Dire Questions

                  Any proposed voir dire questions that the parties would like the Court to ask the

  venire panel.

         (4)      Exhibit Notebooks

         If the parties do not plan to use the ELMO or a laptop to publish exhibits, they shall prepare

  Exhibit Notebooks. The Exhibit Notebooks shall contain three divisions. The first division shall

  contain the parties’ joint exhibits which both parties intend to use at trial; the second division shall

  contain Plaintiff=s exhibits; and the third division shall contain Defendants’ exhibits. Each division

  shall be clearly and adequately designated (tabbed) and each exhibit appropriately labeled. Any

  composite exhibits shall include page numbers for each page of the exhibit for ease of reference.

         At the time of jury selection, the parties shall be required to provide at least fourteen (14)

  copies of the Exhibit Notebook: one for each of the eight jurors, one for the Court, one for the

  witness stand, one for the Court Reporter, one for the Law Clerk, and one for each of the parties.

  At the opening of trial, the jurors’ Exhibit Notebooks shall contain all exhibits from the three

  divisions described above to which there are no objections. As to the remaining exhibits to which

  there are objections, Counsel shall have sufficient tabbed, hole-punched copies of each exhibit to

  give to the jurors for addition to their Notebooks in the event the exhibit is admitted into evidence.


                                                      2
Case 1:21-cv-20975-BB Document 108 Entered on FLSD Docket 02/18/2022 Page 3 of 6

                                                          Case No. 21-cv-20975-BLOOM/Otazo-Reyes


  The Notebooks for the Court, witness stand, court reporter and parties should include all exhibits,

  even those to which there may be objections and an exhibit index for each of the three sections.

            (5)   Jury Instructions and Verdict Form

            Proposed jury instructions and verdict form in Word format to chambers via e-mail,

  bloom@flsd.uscourts.gov. The parties shall submit their proposed jury instructions jointly, though

  they need not agree on each proposed instruction. Additionally, the parties are instructed to include

  a notetaking instruction. Where the parties do not agree on a proposed instruction, that instruction

  shall be set forth in bold type. Instructions proposed only by a plaintiff shall be underlined.

  Instructions proposed only by a defendant shall be italicized. Every instruction must be supported

  by citation to authority. The parties shall use as a guide the Eleventh Circuit Pattern Jury

  Instructions for Civil Cases, including the directions to counsel contained therein.

            (6)   Witness Lists and Exhibit Lists

                  (A) Witness Lists: Revised Witness Lists that include the estimated time for direct

  and cross-examination of each of the witnesses, taking into account the time necessary for

  translation. This list shall include each anticipated impeachment witness.

                  (B) Exhibit Lists: Revised exhibit lists. Prior to filing the lists, the parties shall meet

  and confer to resolve as many issues as possible regarding the other’s exhibits. Any remaining

  objections shall be reflected on the exhibit list identifying the legal basis for the objection. The

  parties are instructed to have each exhibit objected to with them at calendar call for review and

  ruling.

            (7)   Stipulated Facts

                  The parties shall discuss all items not in dispute and file a list of stipulated facts.

            (8)   Demonstrative and Summary Exhibits


                                                      3
Case 1:21-cv-20975-BB Document 108 Entered on FLSD Docket 02/18/2022 Page 4 of 6

                                                        Case No. 21-cv-20975-BLOOM/Otazo-Reyes


         If the parties desire to use demonstrative exhibits during trial (including photos, diagrams

  or time-lines and the like), each such item must be disclosed to the opposing party. No

  demonstrative exhibit may be displayed absent prior written agreement between the parties or,

  absent such agreement, prior approval by the Court.

         (9)      Translators

                  (A) Exhibits: Exchange exhibit translations and attempt to resolve any issues

  regarding the translations. If the parties are unable to resolve the issues, they shall file a notice

  with the Court explaining the remaining issues and setting out each sides’ proposed resolution to

  the remaining issues.

                  (B) At Trial: Prior to calendar call, the parties shall confer and agree on a single

  translator service for the trial. The parties shall split the cost of the service. The service must be

  federal court certified and must be able to provide a team of translators for the trial so that

  translators can switch every 30-40 minutes during the trial.

  At the Calendar Call:

         (10)     Computers and Other Equipment

         Parties desiring to utilize laptop computers or other electronic equipment in the courtroom

  shall file a motion and submit a proposed order granting such use. The motion and proposed order

  should describe with specificity (1) the equipment, (2) the make and model of the equipment, and

  (3) the identity of the person who will bring the proposed equipment. A sample order permitting

  electronic equipment into the courtroom is available for viewing on the Court’s website at:

  http://www.flsd.uscourts.gov. Counsel shall contact the courtroom deputy at least one week prior

  to trial to discuss any special equipment (video monitor, etc.) that may require special

  arrangements.


                                                    4
Case 1:21-cv-20975-BB Document 108 Entered on FLSD Docket 02/18/2022 Page 5 of 6

                                                         Case No. 21-cv-20975-BLOOM/Otazo-Reyes


          (11)    Opening and Closing Statements

          The parties should be prepared to tell the Court how long they each will need for their

  opening and closing statements.

          (12)    The Rule Against Witnesses in the Courtroom

          Excepting the parties or their designated corporate representative, any witness who may

  testify in this case is precluded from the courtroom at any time prior to their testimony. Each party

  shall bring to the Court’s attention the appearance of any witness in the courtroom which violates

  this rule.

          (13)    Copies to Court Reporter

          The parties shall provide to the Official Court Reporter copies of: (a) the final witness and

  exhibit lists; and (b) a list of all names and other proper nouns material to the disposition of the

  case that are likely to be raised at trial.

  No later than the Friday before trial by 3 p.m.:

          (14)    Notice of Settlement

          The parties must notify the Court if the parties settle this matter before trial.

  No later than ten (10) days following the conclusion of the trial:

          (15)    Exhibits Post-Trial

          The parties shall electronically file all exhibits admitted into evidence in their original or,

  if altered during trial, in their altered state. At the close of all of the evidence, the parties shall

  provide an index reflecting the admitted exhibits.




                                                     5
Case 1:21-cv-20975-BB Document 108 Entered on FLSD Docket 02/18/2022 Page 6 of 6

                                               Case No. 21-cv-20975-BLOOM/Otazo-Reyes


         DONE AND ORDERED in Chambers at Miami, Florida, on February 18, 2022.




                                                  _________________________________
                                                  BETH BLOOM
                                                  UNITED STATES DISTRICT JUDGE

  Copies to:

  Counsel of Record




                                           6
